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UNlTED STA TEs DISTRICT coURT
FoR THE MIDDLE DIS TRICT oF GEoRGIA

A THENS DIVlSION
AT ATHENS,GEORGIA

NllNUTE SHEET OF SENTENCE HEAR|NG
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Date: 02/02/201 l

judge: C' Asmey Royal Court Reporter: Tammy Fletcher

Courtroom Deputy: Lee Anne Purvis |merpreter:

Case Number: 3:09-CR-43-2(CAR)

UNlTED STATES OF Al\/|ER|CA
AUSA: Tamara Jarrett
vs.
Detric McGowan Counse|: Reza Sedghi

Agents/Experts in attendance Tony Howard, USPO

 

 

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PRoBATloN: 30 5 D E 5 (jr£

_QQ_IS__D_III_Q.N_S.

M/th shall not possess firearms or other dangerous Weapons.
l:l th t cooperate in the collection of DNA as directed by the USPO.
SUBSTA §_){_C_E ABUSE:
th shall participate in a substance abuse program approved by the USPO which may include testing to
determine if dft has reverted to the use of drugs or alcohol.
l:l Recommend that dft participate in a residential drug treatment program.
l:l The required drug testing condition is suspended . The Court has determined there is low risk of future

substance abuse.

FINANCIAL:
th shall make restitution in the amount of $ to the victims in accordance with an
installment plan ed by the BOP during confinement and the USPO after release.

  
  
 

|:] ( ) Dtt shall make restitution in the amount of$ to the victims
E/as/directe y the USPO. 0

A mandatory assessment fee of $ l 0 is to be paid immediately
[:] A fine of $ is to be paid in accordance With an installment plan approved by the BOP

during confinement and the USPO alter release, plus any interest and/or penalties that may accrue.
[:l A fine of$ is to be paid immediately.
|:] , g 41 tly) The fine is to be paid l:] immediately |:] in installments
Fine is walved. lt is the Court’s judgment that the defendant is unable and not likely to become able to
pay all or part of a fine even with the use of a reasonable installment schedule Therefore, the Court
waives the fine as well as any alternative sanctions in this case. '
Costs of incarceration and or probation/supervision: [:] Dt`t to pay costs l:] th shall not pay costs
Dtt shall provide the USPO/BOP with access to any requested financial information
th is prohibited from incurring new credit charges or opening additional lines of credit without approval
ofthe UsPo.
[:\ Dtt to fully comply with Internal Revenue Service Officials with regard to any past taxes and/or penalties

owed.
[:| Dt’t is permanently ineligible to receive federal benefits
l:| Dtt is ineligible to receive federal benefits for a period of

 

 

 

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CONFINEMENT:
[:] th to serve consecutive days in a jail facility as directed by the USPO.
m Dtt shall reside at the Dismas House, l\/Iacon, GA, for a period of and shall abide by Dismas
House Rules at all times.
m th shall comply with conditions of home confinement a period not to exceed consecutive days.

During this time, dt’t shall remain at his place of residence at all times and shall not leave without advance
permission of the USPO. Di°r will maintain a telephone at his/her residence without features for “Call
Forwarding”, “Caller ID”, or “Call Waiting”; this phone should not be portable cordless or have a modem
attached to it. At the direction of the USPO, dl°c shall wear an electronic monitoring device, follow
electronic monitoring procedures, and pay the costs of electronic monitoring as specified by the U.S.
Probation Office.
MENTAL HEALTH:
m th shall participate in a mental health program as directed by the USPO.
m th shall participate in an approved program for domestic violence
SEX 0FFENDER:
Dit shall register with the state Sex Oft`ender Registration Agency.
th shall waive confidentiality regarding sex offender treatment
Dt’t shall not associate with any person under the age of 21 without the presence of an adult over 21 and
prior permission of the USPO.
Di’c shall allow a search by the USPO without a warrant as deemed necessary to ensure dfr is not engaged in
child molestation or viewing pornography Failure to allow a search may result in revocation of supervised
release.
l:l Dtt shall not own, possess, or use a camera or other photographic device including a camcorder or cell
phone with photographic capability without prior approval of the USPO.
|:] Di’c shall not possess or have under control material that contains sexually explicit conduct or child
pornography
l:] th shall not own, possess, or use a computer or any device With a modern during period of supervised
release without permission of the USPO.
DEPUR TA TION:
[:} Upon completion of the imprisonment portion of the sentence, dft shall be delivered to a duly authorized
official for the Bureau of Immigration and Customs Enforcement Agency for the appropriate proceedings
l:l Aiier deportation, dtt shall not re-enter the United States unless under legal means of entry.
0THER: `
[:] D to perform hours of community service as directed by the USPO.
Dt`t shall report to USPO within 72 hours of release from the BOP.

{:] Dit shall not o erate a motor vehicle for any reason whatsoever while on probation
[:l y): Di>c shall attend a drivci’ s education/DUI school as directed by the USPO.

ADDITIUNAL CONDITIONS:

E [:llj|:|

 

VOLUNTARY SURRENDER:[:] Yes {:}No APPEAL INFORMATION GIVEN TO:M

 

 

 

 

 

 

